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                        EXHIBIT 1
                                                                     Page 6
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                r                                                         20STCV34067
                            Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Lia Martin

Electronically FI D by Superior Court of California, County of Los Angeles on 09/08/2020 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,Deputy Cle

            1        Jonathan A. Stieglitz, Esq. (SBN 278028)
                     THE LAW OFFICES OF JONATHAN A. STIEGLITZ
            2        11845 Olympic Blvd., Suite 800
                     Los Angeles, CA 90064
            3        Telephone:     (323) 979-2063
                     Facsimile:     (323) 488-6748
            4
                     Attorney for Plaintiff
            5        Healthcare Ally Management of California, LLC
            6

            7
            8                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

            9                                                          COUNTY OF LOS ANGELES

          10
                     HEALTHCARE ALLY MANAGEMENT Case No.: 2 0 ST 0V 3 4 0 6 ?
          11         OF CALIFORNIA, LLC
                                                Complaint For:
          12                      Plaintiff,    1. BREACH OF ORAL CONTRACT; and
                                                2. PROMISSORY ESTOPPEL
          13                     V.

          14         SBE ENT Holdings, LLC and DOES 1-10
          15                                      Defendant.
           '
          16-- -- --                                                    -- - - --- - - - --
                                                                                               (Jury Trial Requested)

          17

          18

          19
                               Plaintiff HEALTHCARB ALLY MANAGEMENT OF CALIFORNIA, LLC (hereinafter
          20
                    referred to as "HAMOC") complains and alleges:
          21
                                                                                    STANDING
          22
                               1.         On June 17, 2015, La Peer Surgery Center (hereinafter referred to as the "Medical
          23
                    Provider") entered into an agreement with HAMOC. The agreement provided that Medical
          24
                    Provider could assign any past, present or future unpaid or underpaid bills to HAMOC by sending
          25
                    HAMOC a copy of the unpaid or underpaid bill. The agreement also provided that once an
          26
                    underpaid or unpaid bill was assigned to HAMOC, HAMOC had the right to take any legal action
          27
                    necessary including the filing of a lawsuit to attempt to recover an unpaid or underpaid bill. On
          28
                                                                                          -1-
                                                                                        Complaint


                                                                                                                                                   Page 7
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    1   May 29, 2019, Medical Provider assigned Patients' 1 underpaid/unpaid bill including the right to

    2   file a lawsuit to HAMOC by sending via email a copy Patients' underpaid/unpaid bill to

    3   HAMOC. Patient is a member and enrollee of the SBE ENT Holdings, LLC's (hereinafter

    4   referred to as "DEFENDANT") health insurance policy.

    5
                                                     PARTIES
    6
               2.      DEFENDANT is and was licensed to do business in and is and was doing business
    7
        in the State of California, as a payor of insurance. HAMOC is informed and believes that
    8
        DEFENDANT and or its agents are licensed to transact the business of insurance in the State of
    9
        California. DEFENDANT and or its agents are in fact transacting the business of insurance in the
   10
        State of California and is thereby subject to the laws and regulations of the State of California.
   11
               3.      The true names and capacities, whether individual, corporate, associate, or
   12
        otherwise, of defendants DOES 1 through 10, inclusive, are unknown to HAMOC, who therefore
   13
        sues said defendants by such fictitious names. HAMOC is informed and believes and thereon
   14
        alleges that each of the defendants designated herein as a DOE is legally responsible in some
   15
        manner for the events and happenings referred to herein and legally caused injury and damages

        proximately thereby to HAMOC. HAMOC will seek leave of this Court to amend this Complaint
   17
        to insert their true names and capacities in place and instead of the fictitious names when they
   18
        become known to it.
   19
               4.      At all times herein mentioned, unless otherwise indicated, DEFENDANT/s were
   20
        the agents and/or employees of each of the remaining defendants, and were at all times acting
   21
        within the purpose and scope of said agency and employment, and each defendant has ratified and
   22
        approved the acts of his agent. At all times herein mentioned, DEFENDANT/s had actual or
   23
        ostensible authority to act on each other's behalf in certifying or authorizing the provision of
   24
        services; processing and administering the claims and appeals; pricing the claims; approving or
   25
        denying the claims; directing each other as to whether and/or how to pay claims; issuing
   26
   27   1 For privacy reasons and in order to comply with Health Insurance Portability and Accountability
        Act ("HIPAA"), the full names, dates of treatment and policy information pertaining to the
   28   Patients is being withheld. This information will be disclosed to defendants upon their request.
                                                        -2-



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              1    remittance advices and explanations of benefits statements; making payments to Medical Provider

             2     and its Patient.

             3
                                                             GENERAL FACTS
             4
                           5.         All of the claims asserted in this complaint are based upon the individual and
              5
                   proper rights of HAMOC in its own individual capacity and are not derivative of the contractual
             6
                   or other rights of the Medical Provider's Patient. All of the claims asserted in this complaint arise
             7
                   out of the Medical Provider's interactions with DEFENDANT and DOES 1 through 10, inclusive
             8
                   and are derived from the representations and warranties made during those conversations amongst
             9
                   those parties. HAMOC does not in any way, seek to enforce the contractual rights of the Medical
            10
                   Provider's Patient, through the Patient's insurance contract, policies, certificates of coverage or
            11
                   other written insurance agreements.
            12
                           6.         This complaint arises out of the failure of DEFENDANT to make proper payments
            13
                   and/or the underpayment to Medical Provider by DEFENDANT and DOES 1 through 10,
            14
                   inclusive, of amounts due and owing now to HAMOC for use of facilities at which surgical care,
            15
                   treatment and procedures were provided to Patient, who were insureds, members, policyholders,
- -- ------ -16-
                   certificate-holders or were otherwise covered for health, hospitalization and major medical
            17
                   insurance through policies or certificates of insurance issued and underwritten by DEFENDANT
            18
                   and DOES 1 through 10, inclusive.
            19
                          7.      HAMOC is and was informed based on DEFENDANT's oral and other
            20
                   representations that the Patient were insureds of DEFENDANT either as subscribers to coverage
            21
                   or dependents of a subscriber to coverage under a policy or certificate of insurance issued and
            22
                   underwritten by DEFENDANT and or its agents. HAMOC is and was informed that the Patient
            23
                   entered into a valid insurance agreement with DEFENDANT and or its agents for the specific
            24
                   purpose of ensuring that the Patient would have access to medically necessary treatments, care,
            25
                   procedures and surgeries at medical facilities like Medical Provider and ensuring that
            26
                   DEFENDANT would pay for the health care expenses incurred by the Patient.
            27

            28
                                                                      -3-



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       1            8.      I-IAMOC is and was informed that DEFENDANT and or its agents received and

       2    continue to receive, valuable premium payments from the Patient and/or other consideration from

       3    the Patient under the subj ect policies applicable to the Patient.

       4            9.      Medical Provider and the doctors who performed surgeries or procedures upon the

       5    Patient were "out-of-network providers" or "non-participating providers" who had no preferred

       6    provider contracts or other such standing, written contracts with DEFENDANT setting their rates

       7    of pay for services rendered, prior to the date that the surgeries or procedures were performed

       8    upon the Patient.

       9            10.     It is standard practice in the health care industry that when a medical provider

   10       enters into a written preferred provider contract with a health plan such as DEFENDANT, that a

   11       medical provider agrees to accept reimbursement that is discounted from the medical provider's

   12       total billed charges in exchange for the benefits of being a preferred or contracted provider.

   13              11.     Those benefits include an increased volume of business, because the health plan

   14       provides financial and other incentives to its members to receive their medical care and

   15       treatments from the contracted provider, such as advertising that the provider is "in network", and

   1       allowirig tliemembers to pay lower co-paymentand-deductibles toobtain care arid treatment --

   17       from a contracted provider.

   18              12.     Conversely, when a medical provider, such as Medical Provider, does not have a

   19       written contract or preferred provider agreement with a health plan, the medical provider receives

   20       no referrals from the health plan, but, rather, the health plan discourages its members and

   21       subscribers from obtaining their care from the non-contracted or non-participating providers.

   22              13.     The medical provider has no obligation to reduce its charges. The health plan is

   23       not entitled to a discount from the medical provider's total bill charge for the services rendered,

   24       because it is not providing the medical provider with in network medical provider benefits, such

   25       as increased patient volume and direct payment obligations.

   26              14.     The reason why medical providers have chosen to forgo the benefits of a contract

   27       with a payor is that, in recent years, many insurers including DEFENDANT and or its agent's

   28       contracted rates for in-network providers have been so meager, one-sided and onerous, that many
                                                            -4-



                                                                                                Page 10
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    1   providers like Medical Provider have determined that they cannot afford to enter into such

    2   contracts. As a result, a growing number of inedical providers have become non-contracted or

    3   out of network providers.

    4          15.     Since no other relationship exists between out of network providers and

    5   payors/insurers, to properly determine whether or not to provide medical services to a patient, the

    6   common practice of out of network medical providers is to obtain a separate oral promise and

    7   assurance of payment from the payor or its administrator/agent. In the instance where the terms of

    8   payment are unsatisfactory a medical provider will make other arrangements with the patient or

    9   tell the patient if they cannot follow through on the other arrangements to seek services

   10   somewhere else.

   11          16.     Payors and insurers want their patients to be seen and so they commonly promise

   12   to pay a percentage of the market rate for the procedure, also described as, an average payment

   13   for this procedure or use of facility performed or provided by similarly situated medical providers

   14   within similarly situated areas or places of practice. Rather than use the words market rate to

   15   simplify terms, payors have long used words or combinations of words such as usual, reasonable,

— 16-                "UCR") and allowed.

   17          17.     UCR is a well-known term of art in the health care industry for payment of

   18   medical claims. The Federal Government provides the commonly utilized definition for UCR.

   19   "The amount paid for a medical service in a geographic area based on what providers in the area

   20   usually charge for the same or similar medical service. The UCR amount sometimes is used to

   21   determine the allowed amount."z

   22          18.     To give a specific dollar amount, DEFENDANT, its agents, and other payors of

   23   insurance commonly utilize a publicly available database of informatioo called Fair Health to

   24   calculate in dollars and cents what would be considered UCR. "If a, health care benefit plan

   25   requires payment using the term "reasonable and customary" or similar language mentioned

   26   above with respect to medical and surgical procedures performed and billed by health care

   27
                z Healthcare.gov, UCR (Usual, Customary and Reasonable) (Apri130, 2018),
   28   https://www.healthcare.gov/glossary/UCR-usual-customary-and-reasonable/ [defining UCR].
                                                     -5-



                                                                                           Page 11
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      1   professionals or health care professional group practices, then the affiliates of UnitedHealth

      2   Group most commonly refer to a schedule of charges created by FAIR Health, Inc. ("FAIR

      3   Health") to determine the amount of the payment."3

      4            19.    Medical Provider and its affiliated physicians have a reputation for providing high

      5    quality care. Its charges for its facilities and services are on par with the average charges of other

      6   medical providers in the same general area for the same facilities and/or services.

      7
                                                   SPECIFIC FACTS
      8
                                                      PATIENT IR
      9
                   20.    On May 9, 2019, Patient received surgical procedures using Medical Provider's
    10
           facility.
    11
                   21.    On May 1, 2019, for each respective procedure, Medical Provider's employee,
    12
          Linda R., obtained promises and information from DEFEDANT's representatives, Frances, L., to
    13
          be assured that DEFENDANT would pay for the facilities to be provided to Patient and under
    14
          what terms that payment would be made.
    15
               22.     Medical Provider was informed that Patient's deductible is and was $3,000.00 and
--16- ---- ------                                                                                        ---
       that Patient's Max Out Of Pocket ("MOOP") expense is and was $6,000.00 and that to date for
   17
       that calendar year Patient had paid $3,540.00.
   18
               23.     Until Patient's MOOP was met, Medical Provider was informed that Medical
   19
       Provider would be paid for medical services, at eighty (80) percent of the UCR rate. Once the
   20
       MOOP was met payment would be made at 100% of the UCR rate.
   21
               24.     Medical Provider was informed that there was no max daily payment amount.
   22
               25.     All of the information obtained was documented by Medical Provider   - as part of
                                                                   -
   23
       Medical Provider's written, office policy and practice.
   24
               26.     At no time prior to the provision of services to Patient by Medical Provider, on
   25
       May 1, 2019 or otherwise, was Medical Provider advised that Patient's policy or certificate of
   26

    27

    28           3 United Healthcare, Information on Payment of Out-of-Network Benefits (March 6,
          2018), https://www.uhc.com/legal/information-on payment-of-out-of-network-benefits.

                                                         Com6plaint


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    1   insurance was subject to certain exclusions, limitations or qualifications, which might result in

    2   denial of coverage, limitation of payment or any other method of payment unrelated to UCR.

    3          27.     DEFENDANT did not make reference to any other portion of Patient's plan that

    4   would put Medical Provider on notice of any reduction in the originally stated payment

    5   percentage.

    6          28.     Medical Provider was never provided with a copy of Patient's plan by the

    7   DEFENDANT or Patient. As a result, Medical Provider could not even make itself aware of any

    8   reduction of the payment amount.

    9          29.     Additionally, before providing services, but once Medical Provider was informed

   10   that the offered payment rate was UCR, Medical Provider referred to the Fair Health data, the

   11   same data utilized by DEFENDANT and its agents, to determine the amount Medical Provider

   12   could expect to be paid by DEFENDANT.

   13          30.     Medical Provider relied and provided services solely based on DEFENDANT's

   14   statements including its statement that it would make payment at the UCR rate. Statements which

   15   had no relation to DEFENDANT and Patient's plan document, as the statements may or may not

   16   fiave beeri based iri DEFENDANT-or Patient's plari documents,-but t11at bore no corisideratiori --

   17   when Medical Provider agreed to provide facilities for the performance of the procedure. Medical

   18   Provider took DEFENDANT at its word and provided the facility for the procedures based solely

   19   on that information.

   20          31.     Following the procedure, Medical Provider submitted its claims to DEFENDANT

   21   accompanied with lengthy operative reports, chart notes, and other medical records. No matter

   22   whether large or small, all of Medical Provider's claims were submitted to DEFENDANT using

   23   CPT codes, Healthcare Common Procedure Coding System ("HCPCS"), and modifiers, as

   24   necessary. Medical Provider submitted to DEFENDANT any and all billing information and any

   25   and all additional information requested by DEFENDANT.

   26          32.     DEFENDANT then processed Medical Provider's bill of $56,668.25 and sent a

   27   total payment amount of $1,397.93 far below the UCR value of the services and far below the
   28   agreed upon contract.
                                                       -7-
                                                     Complaint

                                                                                           Page 13
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    1             33.    Following DEFENDANT's incredibly non-payment, Medical Provider sent

    2     DEFENDANT a number of letters requesting proper payment.

    3             34.    Medical Provider was and now HAMOC is entitled to a full payment from

    4     DEFENDANT according to the terms offered by DEFENDANT.

    5
                                                       PATIENT AJ
    6
                  35.    On July 8, 2019, Patient received surgical procedures using Medical Provider's
    7
          facility.
    8
                  36.    On June 20, 2019, for each respective procedure, Medical Provider's employee,
    9
          Yuriko H., obtained promises and information from DEFEDANT's representatives, Maric, to be
   10
          assured that DEFENDANT would pay for the facilities to be provided to Patient and under what
   11
          terms that payment would be made.
   12
                  37.    Medical Provider was informed that Patient's deductible is and was $4,000.00 and
   13
          that Patient's Max Out Of Pocket ("MOOP") expense is and was $8,000.00 and that to date for
   14
          that calendar year Patient had paid $0.00.
   15
                 38.    Until Patient's MOOP was met, Medical Provider was informed that Medical
   -16—          --------- - -------                                   --                           - _
          Provider would be paid for medical services, at eighty .(80) percent of the UCR rate. Once the
   17
          MOOP was met payment would be made at 100% of the UCR rate.
   18
                  39.    Medical Provider was informed that there was no max daily payment amount.
   19
                  40.    All of the information obtained was documeiited by 1Vledical Provider as part of
   20
          Medical Provider's written, office policy and practice.
   21
                  41.    At no time prior to the provision of services to Patient by Medical Provider, on
   22
          June 20, 2019 or otherwise, was Medical Provider advised that Patient's policy or certificate of
                                             - -                   -          -     --             -      - -
   23
          insurance was subject to certain exclusions, limitations or qualifications, which might result in
   24
          denial of coverage, limitation of payment or any other method of payment unrelated to UCR.
   25
                  42.    DEFENDANT did not make reference to any other portion of Patient's plan that
   26
          would put Medical Provider on notice of any reduction in the originally stated payment
   27
          percentage.
   28
                                                           -8-
                                                         Complaint

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     1                43.     Medical Provider was never provided with a copy of Patient's plan by the

     2         DEFENDANT or Patient. As a result, Medical Provider could not even make itself aware of any

     3         reduction of the payment amount.

     4                44.     Additionally, before providing services, but once Medical Provider was informed

     5         that the offered payment rate was UCR, Medical Provider referred to the Fair Health data, the

     6         same data utilized by DEFENDANT and its agents, to determine the amount Medical Provider

     7         could expect to be paid.by DEFENDANT.

     8                45.     Medical Provider relied and provided services solely based on DEFENDANT's

     9         statements including its statement that it would make payment at the UCR rate. Statements which I

    10         had no relation to DEFENDANT and Patient's plan document, as the statements may or may not

    11         have been based in DEFENDANT or Patient's plan documents, but that bore no consideration

    12         when Medical Provider agreed to provide facilities for the performance of the procedure. Medical

    13         Provider took DEFENDANT at its word and provided the facility for the procedures based solely

    14         on that information.

    15                46.     Following the procedure, Medical Provider submitted its claims to DEFENDANT

              accompanied with lengthyoperative reports;chartnotes, andotherrriedicalrecords.
                                                                                           -No matter
    17         whether large or small, all of Medical Provider's claims were submitted to DEFENDANT using

    18         CPT codes, HCPCS, and modifiers, as necessary. Medical Provider submitted to DEFENDANT

    19         any and all billing information and any and all additional information requested by

    20 DEFENDANT.

    21                47.     DEFENDANT then processed Medical Provider's bill of $113,745.00 and sent a

    22         total payment amount of $3,572.78far below the UCR value of the services and far below the
                                       - - -                  - -    •   -          ..   =-      -       -     --   -
    23         agreed upon contract.

    24                48.     Following DEFENDANT's incredibly non-payment, Medical Provider sent

    25         DEFENDANT a number of letters requesting proper payment.

    26                49.    Medical Provider was and now HAMOC is entitled to a full payment from DEFENDANT

    27         according to the terms offered by DEFENDANT.

    28   II

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     1                                       FIRST CAUSE OF ACTION:

     2                                 FOR BREACH OF ORAL CONTRACT

     3            50.     HAMOC incorporates by reference all previous paragraphs alleged in this

     4    complaint as though fully set forth herein.

     5            51.     At all relevant times, an oral agreement and contract was in full force and effect

     6    between Medical Provider and DEFENDANT and DOES 1 through 10, inclusive, and each of

     7    them, whereby DEFENDANT and DOES 1 through 10, inclusive warranted, guaranteed,

     8    promised, pledged and agreed to pay, and indemnify Medical Provider, for all services rendered

     9    to Patients at the rate of UCR. In reliance upon such agreement and contract, Medical Provider

    10    accepted Patients for treatment and provided facilities to initiate, administer and render surgeries

    11    and other medical services upon Patients, at great cost to itself.

    12            52.     Pursuant to the terms of the oral agreement, DEFENDANT and DOES 1 through

    13    10, inclusive, and each of them, agreed to pay their portion of the full cost of the facilities at a rate

    14    of UCR.

    15           53.     Medical Provider has performed and satisfied all obligations and conditions

    16 - precederit required ori its part to be performed pursuant to the oral-agreement.-Specifically,-- ---

    17    Medical Provider contacted DEFENDANT and/or their agents, and each of them, in order to

    18    obtain certification and authorization, submitted claims, invoices for services and other

    19    documentation to allow the adjustment and payment of claims by DEFENDANT and each of

    20 I them, and rendered care and treatment to Patients, pursuant to the terms of the subject oral

    21    agreements. DEFENDANT, and each of them, did certify, authorize and request the provision

    22    and rendition of inedical services by Medical Provider to Patients and, by their representations,

    23    urged Medical Provider to proceed with and continue the care and treatment of Patients.

    24           54. DEFENDANT have failed and refused to pay Medical Provider and now HAMOC

    25    for the full agreed cost of the medical facilities which were provided to the Patients by Medical

    26    Provider. In denying payment for the full charges incurred by the Patients, defendants, and each

   27     of them, have breached their obligations as set forth in the subject oral agreement.
   28
                                                            - 10-
                                                           ompla

                                                                                                 Page 16
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      1             55.     As an actual, legal and proximate result of the aforementioned conduct of

     2      defendants, and each of them, HAMOC has suffered, and will continue to suffer in the future,

     3      damages under the oral agreement, plus interest, and other economic and consequential damages,

     4      for a total amount to be shown at the time of trial.

     5
                                             SECOND CAUSE OF ACTION
     6
                                            FOR PROMISSORY ESTOPPEL
     7
                    56.     HAMOC incorporates by reference all previous paragraphs as though fully set
     8
            forth herein.
     9
                    57.     DEFENDANT promised and asserted that the procedure to be performed and
    10
            which was performed for and on the Patients was covered, authorized, certified and would be paid
    11
            for at the rate of UCR.
    12
                   58.      Medical Provider only decided to provide services because they were assured that
    13
            Medicare was not part of the calculation of payment and that Medical Provider would be paid at
    14
            the UCR rate.
    15 I
                   59.      After assuring and promising Medical Provider that payment would be at the UCR
    16- I
            rate, DEFENDANT should have reasonably expected that Medical Provider would then go on to
    17
            provide the facility for the performance of the procedure on the Patients expecting that payment
    18
            would be made at that rate.
    19
                   60.      As a direct and proximate result of DEFENDANT's misrepresentations, Medical
    20
            Provider has been damaged in an amount equal to the amount of money Medical Provider should
    21
            have received had DEFENDANT paid the cost of the procedures at the UCR rate.
    22
                   61.      The detriment suffered by Medical Provider is the amount required to make
    23
            Medical Provider whole, for the time, cost and money expended in providing the facilities to
    24
            Patients. As a further direct, legal and proximate result of Medical Provider's detrimental
   25
            reliance on the misrepresentations of defendants, and each of them, Medical Provider has been
   26
            damaged due to the loss of monies expended in providing said facility for which it was
   27 '
            significantly underpaid and has suffered damages in the loss of use of the proceeds and income to
   28
            be derived from the facility to which HAMOC ispow entitled.



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     1            62.     In light of the material representations and misrepresentations of DEFENDANT

     2     made to Medical Provider, and of Medical Provider's reliance on DEFENDANT's

     3     representations, and based upon Medical Provider's detrimental reliance thereon, DEFENDANT,

     4     and each of them, are estopped from denying payment and indemnification for Patients'

     5     treatments at the UCR rate and HAMOC is now entitled to the value enumerated by that

     6     calculation. An amount to be determined at the time of trial.

     7

     8

     9

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     1                                         PRAYER FOR RELIEF

     2            WHEREFORE, HEALTHCARE ALLY MANAGEMENT OF CALIFORNIA, LLC

     3    prays for judgment against defendants as follows:

     4            1.     For compensatory damages in an amount to be determined, plus statutory interest;

     5            2.     For restitution in an amount to be determined, plus statutory interest;

     6            3.     For a declaration that DEFENDANT is obligated to pay HAMOC all monies owed

     7    for services rendered to the Patients; and

     8            4.     For such other relief as the Court deems just and appropriate

     9

    10    Dated: September 6, 2020                     LAW OFFICES OF JONATHAN A. S GLITZ
    11                                                 By:

    12                                                       JONATH.AK A. S GLITZ
                                                             Attorn s fo
    13                                                       HE        ARE ALLY MANAGEMENT OF
                                                             C    FORNIA, LLC
    14

    15
     -   ------ ---    -------      -------       ---------------------
    16
                                           DEMAND FOR JURY TRIAL
    17
                 HAMOC, HEALTHCARE ALLY MANAGEMENT OF CALIFORNIA, LLC hereby
    18
          demands a jury trial as provided by law.
    19

    20
          Dated: September 6, 2020                     LAWrATHAN A. STIEGLITZ
    21
                                                       By:
    22                                                       JO         NA. EGLITZ
                                                             Attorneys for:
    23                                                       HEALTHCARE ALLY MANAGEMENT OF
    24                                                       CALIFORNIA, LLC

    25

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    27
    28
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                                                       Complaint

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